Case 1:20-cv-24044-DMM Document 158 Entered on FLSD Docket 06/06/2024 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                             Case No.: 20-CV-24044-MIDDLEBROOKS



   EDUARDO SOTO, as personal
   Representative of the estate of OSVALDO
   SOTO,
                              Plaintiff,

   vs.


   EXPEDIA GROUP, INC.,

                        Defendants,
   ______________________________________/


               NOTICE OF PRO SE APPEARANCE AND DESIGNATION OF
             ELECTRONIC MAIL ADDRESSES FOR ATTORNEY OF RECORD


          PLEASE TAKE NOTICE of the appearance of the undersigned acting Pro Se as Personal

   Representative of the estate of Osvaldo Soto (Plaintiff, in the above-captioned action. Please

   direct copies of all pleadings, orders, correspondence, and other documents to the undersigned.

          Plaintiff, OSVALDO SOTO, by and through his Personal Representative of the estate,

   hereby files this Notice of Designation of Electronic Mail Addresses pursuant to the 11.1 (d)

   Local Rule of the United States District Court for the Southern District of Florida, and hereby

   designates the following email address for receiving electronic service documents:

                                  soto27@comoinmigrarausa.com

          Please use all e-mail addresses for electronic correspondence and filings.
Case 1:20-cv-24044-DMM Document 158 Entered on FLSD Docket 06/06/2024 Page 2 of 2




                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

   via U.S. Mail and/or E-Service compliant with Local Rule 5.1 of the United States District Court

   for the Southern District of Florida this 6th day of June 2023 to all counsel of record.

                                                Respectfully Submitted,
                                                /s/ Eduardo R. Soto, Esq.
                                                Eduardo R Soto,
                                                Esq.
                                                Fla. Bar No.: 0858609
                                                Eduardo Soto, P.A.
                                                999 Ponce de Leon Boulevard., Suite #1040
                                                Coral Gables, FL 33134
                                                Tel.: (305) 446-8686
                                                Fax: (305) 529-0445
